Case 3:99-cv-03018-CBK Document 168 Filed 12/07/01 Page 1 of 2 PagelD #: 1077

®.A0 187A (Rev. 7/87) EXHIBIT AND WITNESS LIST - CONTINUATION

SD Farm Bureau, Inc., et al. VS. State of South Dakota, et al. CASE NO. Civ99-3018
Ne No. one MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
301 1997 Census of Agriculture: South Dakota
302 Secretary of Siate Pro-Con Statement and AG Explanation
303 Initiated Constitutional Amendment Fetition
304 “Find Out What South Dakota” brochure

305 {2. io fp / -” {Can of Worms” brochure — Go ANnObyr/

306 Brost articl ree
rost article TT ED

307 Brost article .
pert
308 7/1/98 Press releases: Vote No on E Committee
309 le jo L |Speech for Vote No on £ speakers bureau
310 Vote No on Amendment © Brochure
311 USDA: A Time to Choose
312 USDA: A Time to Act
313 August, 2000 Dr. Linda M. Labao Curriculum Vitae
313A jatsfo { LU November, 2001 Dr. Linda M. Labao Curriculum Vitae + 4 ADAO
314 149 [5 jot  |Dr. Linda Labao: Industrialized Farming ~ Aobao
315 [ja] 7/01 e— |Dr. William D. Heffernan Vitae - NY nae
316 Dr. William Heffernan: Social Impacts of Changing Structure
317 Four Largest Commodity Processing Firms (Table I}
318 3/14/97 Draft Hog Meeting Minutes
319 Memo to: Parties interested in a “hog initiative”
320 Hog meeting Invitation
321 Language Drafting Committee Memo
323 (25/97 Summary of First Meeting Minutes
323 4/21/97 Hog Meeting Notes
324 Draft Co-op language
325 4/28/97 Bixler memo to participants in the April 21 meeting
326 4/29/97 Morog letter to Charlie

Page 7 of Pages

Case 3:99-cv-03018-CBK Document 168 Filed 12/07/01 Page 2 of 2 PagelD #: 1078

“SAO 187A (Rev. 7/87)

EXHIBIT AND WITNESS LIST — CONTINUATION

SD Farm Bureau, Inc., et al. VS. State of South Dakota, et al. CASE NO. CIv99-3018
NO Na OFFERED MARKED | ADMITTED DESCRIPTION OF EXHIBITS AND WITNESSES
327 Comments on YSD Proposed Constitutional Amendment
328 5/3/97 Morog letter to Drafting Committee
329 5/5/97 Keaveny memo to Bill Drafting Committee
330 5/8/97 Thompson memo to Jolin, Brian, Theresa & Dennis
331 Minutes of 5/9/97 Meeting in Huron
332 5/13/97 Davis Memo to Corporate farming amendment supporters
333 5/14/97 Anderson letter to Jennings
334 5/16/97 Wiese Memo to Coordinating Committee Members
335 Secretary of State Fax Transmittal Form
336 12/8/99 MoorMan’s letter to Haverhals
337 Kingsburg Grain & Feed Invoice
338 8/12/99 MCP sale confirmation & contract
339 12/28/99 MCP sale confirmation & contract
3Y0 Lohao Chart
24 /ialslo.| witha bar 7a b/e
34.a| (2 /alor Deposition of Deb Mortenson

Page 8 of Pages

